                                                   Entered on Docket
                                                   December 26, 2018
                                                   EDWARD J. EMMONS, CLERK
                                                   U.S. BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF CALIFORNIA


 1   Darren J. Devlin, Esq. [SBN 176261]
     The Law Offices of Jason C. Tatman, A.P.C. Signed and Filed: December 25, 2018
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     Fax (858) 348-4976                           ________________________________________
 4   jt@nationwidereconveyance.com                DENNIS MONTALI
     Attorneys for Secured Creditor and Movant U.S. Bankruptcy Judge
 5   Specialized Loan Servicing, LLC, as servicer
     for The Bank of New York Mellon f/k/a
 6   The Bank of New York as successor
     Indenture trustee to JPMorgan Chase Bank,
 7   National Association for CWHEQ Revolving
     Home Equity Loan Trust, Series 2005-D
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                               UNITED STATES BANKRUPTCY COURT
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               NORTHERN DISTRICT OF CALIFORNIA—SANTA ROSA DIVISION
11
12                                                  Case No: 18-10482
      In re:
13                                                  Chapter 13
      EVETTE FRANCES MINOR and KEVIN
14    CORTEZ MINOR,                                 DC No.: DJD-001
15                  Debtors.                        ORDER GRANTING MOTION FOR
                                                    RELIEF FROM AUTOMATIC STAY
16    _______________________________
                                                Date: 12/12/18
17    Specialized Loan Servicing, LLC, as       Time: 1:30 p.m.
      servicer for The Bank of New York Mellon  99 South E Street
18    f/k/a The Bank of New York as successor   Santa Rosa,CA 95404
19    Indenture trustee to JPMorgan Chase Bank,
      National     Association   for   CWHEQ The courtroom of the Honorable Dennis Montali
20    Revolving Home Equity Loan Trust, Series
      2005-D
21    ,

22                  Movant,

23    -vs-

24    EVETTE FRANCES MINOR and KEVIN
      CORTEZ MINOR, Debtors; David
25    Burchard, Chapter 13 Trustee,

26                  Respondents.

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 1          This matter having come before the Court on the Motion for Relief from Automatic Stay
 2   (“Motion”), of Secured Creditor and Movant Specialized Loan Servicing, LLC, as servicer for
 3
     The Bank of New York Mellon f/k/a The Bank of New York as successor Indenture trustee to
 4
     JPMorgan Chase Bank, National Association for CWHEQ Revolving Home Equity Loan Trust,
 5
     Series 2005-D (“Creditor”). The Court having considering arguments of counsel, appearances as
 6
 7   noted in the record, and for good cause appearing,

 8          IT IS HEREBY ORDERED AND ADJUDGED that
 9          The Motion is granted and the automatic stay is terminated, and Creditor is authorized to
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     enforce its rights in the real property commonly known as 1252 Poplar Street, Santa Rosa, CA;
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            The requirements of Bankruptcy Rule 4001(a)(3) are waived; and
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            This Order shall be binding an effective in any conversion of this case to another Chapter
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     under the Bankruptcy Code.
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                                        ***END OR ORDER***
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 1                                COURT SERVICE LIST
 2   Evette Frances Minor
 3   Kevin Cortez Minor
     1252 Poplar Street
 4   Santa Rosa, CA 95407

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